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B25A (Official form 25A)(12/11)

                                  UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF CONNECTICUT

In Re:                                                              Chapter 11

         Richard and Stephanie Lucarelli,                           Case No. 13-30350 JAM
               Debtors

         Lucarelli’s Executive Answering Service, LLC,              Case No. 13-30443 JAM
               Debtor


                            SECOND AMENDED
    JOINT PLAN OF REORGANIZATION OF RICHARD AND STEPHANIE LUCARELLI
            AND LUCARELLI’S EXECUTIVE ANSWERING SERVICE, LLC
                           DATED MARCH 5, 2014

                                                ARTICLE I
                                                SUMMARY

        This Second Amended Joint Plan of Reorganization (the “Plan”) under chapter 11 of the
Bankruptcy Code (the “Code”) proposes as set forth herein to resolve claims of creditors of the personal
bankruptcy estate of Richard and Stephanie Lucarelli (“Lucarellis” and the “Lucarelli Case”) and claims
of creditors of the bankruptcy estate of Lucarelli’s Executive Answering Service, LLC (“LEAS”).
Sources of funding of distribution to creditors include a voluntary withdrawal of funds in an amount not
less than $128,000 from exempt retirement accounts and cash flow from operations of LEAS.

        This plan provides for six classes of secured claims; two classes of unsecured claims; and the
class of equity security holders. Unsecured creditors holding Allowed claims against the Lucarellis will
receive a distribution on the Effective Date which the proponents of this Plan value at approximately
three cents on the dollar. Unsecured creditors holding Allowed claims against LEAS will receive
distributions over five years, with no interest, which the proponents of this plan estimate will total
twenty cents on the dollar.

        This Plan also provides for the payment of Administrative Expenses and Priority Claims.
Priority Claims include an IRS and DRS liability totaling about $64,000 in the Lucarelli Case and each
will be paid in full on the Effective Date. In the LEAS case there is one such claim owed to the New
York State Department of Taxation in the sum of about $33,000. It will be paid with statutory interest
over approximately 48 months.

        All creditors and equity security holders should refer to Articles III through VI of this Plan for
information regarding the precise treatment of their claim. A disclosure statement that provides more
detailed information regarding this Plan and the rights of creditors and equity security holders has been
circulated with this Plan. Your rights may be affected. You should read these papers carefully and


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discuss them with your attorney, if you have one. If you do not have an attorney, you may wish to
consult one.
                                           ARTICLE II
                      CLASSIFICATION OF CLAIMS AND INTERESTS

      2.01   Class 1.       Secured Claim of Capital One

                            The Allowed claim of Capital One that is secured by all assets of LEAS.

      2.02   Class 2.       Secured Claim of Ciani Communications

                            The claim of Ciani Communications to the extent Allowed as secured by
                            all assets of LEAS.

      2.03   Class 3.       Secured Claim of the City of Derby

                            The Allowed claim of the City of Derby that is secured by all assets of
                            LEAS.

      2.04   Class 4.       First Mortgage secured claim of Bank of America

                            The Allowed claim of Bank of America (serviced by JPMorgan Chase
                            Bank) that is secured by a first mortgage on the Lucarelli’s home at 1890
                            Litchfield Turnpike, Woodbridge, Connecticut.

      2.05   Class 5.       Second Mortgage secured claim of JPMorgan Chase Bank

                            The Allowed claim of JPMorgan Chase Bank that is secured by a second
                            mortgage on the Lucarelli’s home at 1890 Litchfield Turnpike,
                            Woodbridge, Connecticut.

      2.06   Class 6.       Third Mortgage secured claim of Bank of America

                            The Allowed claim of Bank of America that is secured by a third
                            mortgage on the Lucarelli’s home at 1890 Litchfield Turnpike,
                            Woodbridge, Connecticut.

      2.07   Class 7.       Unsecured LEAS Claims

                            All Allowed unsecured claims against LEAS comprising eleven (11)
                            claims totaling approximately $257,319, subject to any objections to
                            claims.

      2.08   Class 8.       Unsecured Lucarelli Claims




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                                       All Allowed unsecured claims against Richard and/or Stephanie Lucarelli.
                                       Presently 38 claims are asserted totaling $1,096,795, subject to any
                                       objections to claims.

          2.09    Class 9.             Equity Interests

                                       Equity Interests of Richard and Stephanie Lucarelli in Debtor LEAS and
                                       the interest of the individual Debtors in their personal bankruptcy estate.

                                           ARTICLE III
                             TREATMENT OF ADMINISTRATIVE EXPENSES,
                        CHAPTER 11 QUARTERLY FEES, AND PRIORITY TAX CLAIMS

        3.01. Unclassified Claims. Under §1123(a)(2), Administrative Expenses, chapter 11 quarterly
fees, and Priority Tax Claims are not in classes.

        3.02. Administrative Expenses. Each holder of an Administrative Expense Allowed under §
503 of the Code will be paid in full on the Effective Date of this Plan (as defined in Article VII), in cash,
or upon such other terms as may be agreed upon by the holder of the claim and the Debtor.

        3.03. Priority Tax Claims. Each holder of an Allowed Priority Tax Claim against the
Lucarellis will be paid in cash on the Effective Date. The holder of the Priority Tax Claim against LEAS
will be paid in equal monthly payments commencing on the first day of the next full calendar month
after the Effective Date, amortized with interest at the statutory rate applicable on the Confirmation Date
over the period of approximately forty-eight (48) months with a final payment no more than about five
years after the Petition Date.

        3.04. Chapter 11 Quarterly Fees. All fees for these present proceedings required to be paid by
28 U.S.C. § 1930(a)(6) will accrue and be timely paid until the respective case is closed, dismissed, or
converted to another chapter of the Code or provisionally closed after the Effective Date and
commencement of payments, if Allowed by the Court. Any chapter 11 quarterly fees owed on or before
the Effective Date of this Plan will be paid on the Effective Date. In LEAS the U.S. Trustee has filed an
unsecured claim for $1,625 of quarterly fees left unpaid in a prior chapter 11 proceeding that was
dismissed. Said sum is included in Class 7.

                                     ARTICLE IV
                   TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

          4.01    Claims and interests shall be treated as follows under this Plan:

Class #                 Description                  Insider?     Impairment               Treatment
                                                   (Yes or No)
1         Secured claim of Capital One             No            Impaired      Monthly payment = about $270

                                                                               Begin date = First Business Day of
          Collateral description = All assets of                               next calendar month after Effective
          LEAS                                                                 Date

          Allowed Secured Amount = $17,112                                     Payments End = Month 72
                                                             3
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          Priority of lien = First                                                Interest Rate: Plan Interest Rate
                                                                                  (see VIII(t))

                                                                                  Treatment of Lien = Retained
                                                                                  until fully paid
2         Secured claim of Ciani Communications     No             Impaired       Monthly payment = about $794
          LTD
                                                                                  Begin date = First Business Day of
          Collateral description = All assets of                                  next calendar month after Effective
          LEAS                                                                    Date

          Allowed Secured Amount =                                                Payments End = Month 72
          $50,000
                                                                                  Interest Rate = 4.5%
          Priority of lien = Second
                                                                                  Treatment of Lien = Retained until
                                                                                  fully paid


Class #                   Description                 Insider?       Impairment               Treatment
                                                    (Yes or No)
3         Secured claim of City of Derby            No             Impaired        Monthly payment = about $562

          Collateral description= All assets of                                    Begin date = First Business Day
          LEAS                                                                     of next calendar month after
                                                                                   Effective Date

          Allowed Secured Amount =                                                 Payments End = Month 72
          $36,697.79
                                                                                   Interest Rate = 3%
          Priority of lien = Third
                                                                                   Treatment of Lien = Retained
                                                                                   until fully paid



                                      Richard and Stephanie Lucarelli Secured Claims

Class #                   Description                 Insider?       Impairment               Treatment
                                                    (Yes or No)
4         Secured claim of Bank of America               No        Unimpaired      Debtor agrees that this claim is a
          (JPMorgan Chase Bank, servicer)                                          non-modifiable claim. Debtor
                                                                                   will reinstate all arrearages owed
          Collateral description =1890 Litchfield                                  at the time of confirmation over a
          Turnpike, Woodbridge, CT                                                 period of 25 months without
                                                                                   interest commencing on the 15th
          Allowed Secured Amount =                                                 day of the next calendar month
          $382,466.36                                                              after the effective date and
                                                                                   thereafter by the 1st of each month
          Pre-petition arrearage = $11,652.54                                      in equal monthly installments of
                                                                                   $484.40. The claimed arrearages
          Priority of lien = First                                                 owed as of the date of the
                                                                                   Lucarelli case petition date was
                                                                                   $11,625.54.

                                                                                   In addition to the arrearage
                                                                                   payment, the Debtor will continue
                                                                                   to make his regular post-petition
                                                                                   monthly mortgage payments
                                                                                   effective 3/1/13 as they become
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                                                                              due pursuant to the terms of the
                                                                              underlying Note and Mortgage.
                                                                              The current post petition
                                                                              mortgage payment is $4,230.53,
                                                                              including at this time about
                                                                              $2,868.96 principal and interest
                                                                              and $1,361.57 real property tax
                                                                              escrow, and payments end
                                                                              approximately July 2032.

                                                                              Debtor agrees that this amount
                                                                              may change in accordance with
                                                                              the underlying Note and
                                                                              Mortgage as a result of any
                                                                              change in escrow. Debtor agrees
                                                                              that if any additional arrearages
                                                                              have become due at the time of
                                                                              confirmation that they will be
                                                                              paid together with the above
                                                                              arrearage.

                                                                              Interest Rate = 5.875%

                                                                              Treatment of Lien = retained until
                                                                              fully paid;

                                                                              Default: Upon confirmation of
                                                                              the Debtor’s case, the automatic
                                                                              stay pursuant to 11 U.S.C. §362
                                                                              shall no longer be applicable so
                                                                              that this lender, its successors or
                                                                              assigns, can enforce its default
                                                                              rights pursuant to the underlying
                                                                              Note and Mortgage without
                                                                              further order of this court.

5     Secured claim of                           No        Unimpaired-        For Descriptive Purposes Only,
      JPMorgan Chase Bank, N.A.                            Plan leaves        not intended to alter the rights
                                                           unaltered legal,   under loan documents as effective
      Collateral description = 1890 Litchfield             equitable and      prior to Petition Date:
      Turnpike, Woodbridge, CT                             contractual
                                                           rights of          At the time of the bankruptcy
      Allowed Secured Amount =                             claimant           filing the Debtor was current with
      $98,879.83                                                              all Note obligations. The Debtor
                                                                              agrees to continue to remain
      Priority of lien = Second                                               current on all payments pursuant
                                                                              to the underlying loan documents.
                                                                              The post-petition monthly
                                                                              payment as of 3/1/13 was
                                                                              $680.51. Debtor agrees to
                                                                              continue to maintain the monthly
                                                                              mortgage amount that becomes
                                                                              due, including any increase due to
                                                                              a variable rate adjustment.

                                                                              Begin date = First Business Day
                                                                              of next calendar month after
                                                                              Effective Date

                                                                              Payments End = 15 years,
                                                                              approximately 10/2028

                                                                              Interest rate = 3.5%, or as
                                                       5
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                                                                              adjusted per note terms

                                                                              Treatment of Lien = retained until
                                                                              fully paid.

                                                                              Default: : Upon confirmation of
                                                                              the Debtor’s case, the automatic
                                                                              stay pursuant to 11 U.S.C. §362
                                                                              shall no longer be applicable so
                                                                              that this lender, its successors or
                                                                              assigns, can enforce its default
                                                                              rights pursuant to the underlying
                                                                              Note and Mortgage without
                                                                              further order of this court.



6     Secured claim of                           No        Unimpaired-        For Descriptive Purposes Only,
      Bank of America, N.A.                                Plan leaves        not intended to alter the rights
                                                           unaltered legal,   under loan documents as effective
      Collateral description = 1890 Litchfield             equitable and      prior to Petition Date:
      Turnpike, Woodbridge, CT                             contractual
                                                           rights of          At the time of the bankruptcy
      Allowed Secured Amount = $179,310.32                 claimant           filing the Debtor was current with
                                                                              all Note obligations. The Debtor
      Priority of lien = Third                                                agrees to continue to remain
                                                                              current on all payments pursuant
                                                                              to the underlying loan documents.
                                                                              The post-petition monthly
                                                                              payment as of 3/1/13 was about
                                                                              $1400. Debtor agrees to continue
                                                                              to maintain the monthly mortgage
                                                                              amount that becomes due,
                                                                              including any increase if
                                                                              applicable due to a variable rate
                                                                              adjustment. Debtor will maintain
                                                                              real property tax and insurance
                                                                              payments either directly or
                                                                              through escrow with the senior
                                                                              lienholder.

                                                                              Begin date = continue regular
                                                                              timely monthly payments

                                                                              Payments End = 10/1/23

                                                                              Interest rate = 2.75%, or as
                                                                              adjusted per note terms

                                                                              Treatment of Lien = retained until
                                                                              fully paid.

                                                                              Default: : Upon confirmation of
                                                                              the Debtor’s case, the automatic
                                                                              stay pursuant to 11 U.S.C. §362
                                                                              shall no longer be applicable so
                                                                              that this lender, its successors or
                                                                              assigns, can enforce its default
                                                                              rights pursuant to the underlying
                                                                              Note and Mortgage without
                                                                              further order of this court.



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Class #                 Description             Impairment                    Treatment
   7       Allowed general unsecured claims      Impaired    LEAS shall pay twenty percent (20%) to
           against LEAS comprising 11 claims                 Allowed claims against LEAS in sixty (60)
           totaling approximately $257,319                   equal monthly payments, without interest,
                                                             commencing on the 15th day of the 2nd full
                                                             calendar month after Effective Date
  8        Allowed general unsecured claims      Impaired    Pro Rata share of $34,347 on the Effective
           against Richard and/or Stephanie                  Date
           Lucarelli comprising 38 claims
           totaling approximately $1,096,795,
           subject to certain objections
  9        Equity Interests of Richard and      Impaired -   The Lucarellis will liquidate exempt
           Stephanie Lucarelli as individual     Insiders    retirement funds to pay all Effective Date
           debtors and holders of 100%                       Payments. Lucarellis shall continue to own
           membership in LEAS                                100% of the membership interests in LEAS
                                                             after Confirmation

                                        ARTICLE V
                           ALLOWANCE AND DISALLOWANCE OF CLAIMS

        5.01 Disputed Claim. A disputed claim is a claim that has not been Allowed or disallowed by
a final non-appealable order, and as to which either: (i) a proof of claim has been filed or deemed filed,
and the Debtor or another party in interest has filed an objection; or (ii) no proof of claim has been filed,
and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.

        5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
disputed claim unless such claim is Allowed by a final non-appealable order. Pending distribution the
estate shall not be obligated to escrow any funds for the asserted claims and no interest shall be paid
should the claim ultimately be Allowed and distributions then paid.

       5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to settle
and compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal
Rules of Bankruptcy Procedure.

                                  ARTICLE VI
           PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          6.01    Assumed Executory Contracts and Unexpired Leases.

                  (a)      The Debtors assume the executory contracts and/or unexpired leases effective
                           upon the Effective Date of this Plan as provided in Article VII that are listed in
                           Schedule A appended hereto.

                  (b)      Upon the Effective Date, and as of the Confirmation Date, all executory contracts
                           and/or unexpired leases not expressly assumed under Section 6.01(a) above are
                           conclusively rejected. A proof of a claim arising from the rejection of an
                           executory contract or unexpired lease under this section must be filed no later
                           than fourteen (14) days after the Confirmation Date.

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                                     ARTICLE VII
                        MEANS FOR IMPLEMENTATION OF THE PLAN

        For payment in full of the two Priority Tax Claims against the Lucarelli estate, and the
distribution in accordance with this plan to Class 8 in the Lucarelli proceeding, the Lucarellis shall
withdraw funds not less than $128,000 from their personal retirement accounts which are fully exempt
from execution by creditors under state law or federal bankruptcy law and thus not otherwise available
for payment of claims except to the extent the Lucarellis voluntarily commit to such distribution upon
confirmation of this Plan. The balance of said funds shall be disbursed to Administrative Expenses of
both cases upon allowance, with any remaining sum owed to be paid in accordance with agreements
between the holder of such Administrative Expense and the Debtors. To the extent of payment of
Administrative Expenses the LEAS estate in this manner the creditors of LEAS also are benefited by
this voluntary contribution by the Lucarellis who make up the equity class of LEAS. In addition, to the
extent required, in the sole discretion of the Lucarellis, for LEAS to have sufficient net income to fund
the payments of LEAS to its creditors pursuant to the Plan the Lucarellis will reduce their future
incomes from LEAS. LEAS shall pay its Priority Tax Claims, the secured claims of classes 1 through
3, and the distribution to unsecured claims in Class 7 from the future proceeds of LEAS operations. The
Lucarellis shall pay their secured claims of Classes 4 through 6 from their future wages from LEAS. All
payments shall be issued by the Plan Administrators, Richard and Stephanie Lucarelli. Debtors will pay
their post-confirmation legal fees and costs when billed, and may hire such other professionals as they
determine are appropriate, without the necessity of further court authority. The Plan Administrators may
accelerate any payment required by this plan after the Effective Date as to any creditor without altering
the obligations hereunder to any other creditors as long as such payment is not inconsistent with Section
1129(a)(9)(C) of the Code.

                                      ARTICLE VIII
                        DEFINITIONS AND RULES OF CONSTRUCTION

        8.01. Definitions and Rules of Construction. The definitions set forth in §§101, 363(a), 547(a),
1101, and 1125(a) of the Code shall apply when terms defined in the Code are used in this Plan. The
Rules of Construction in §102 of the Code shall apply when construing this Plan. The Definitions set
forth in the Code are supplemented as follows:

   a) “Administrative Expense” means a right to payment Allowed under §503 of the Code, including
      §503(b)(9), and any reclamation claim Allowed under § 546(c).

   b) "Allowed" means, with respect to a particular claim, (a) the dollar amount of a claim that is listed
      in the Debtor's Schedules, as they may from time to time be amended in accordance with Rule
      1009 of the Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules"), unless noted as
      disputed, contingent or unliquidated, if the claimant of such claim has not filed a proof of claim
      with the Bankruptcy Court within the applicable period of limitation fixed by the Bankruptcy
      Court pursuant to Rule 3003(c)(3) of the Bankruptcy Rules, or (b) if the claimant has filed a
      proof of claim with the Bankruptcy Court within the applicable period of limitation fixed by the
      Bankruptcy Court pursuant to Rule 3003(c) of the Bankruptcy Rules or if a proof of claim for
      such claimant is deemed filed under applicable law or by reason of an order of the Bankruptcy
      Court within such applicable period of limitation: (i) the dollar amount stated in such proof of
      claim, if no objection to such proof of claim has been interposed by a party in interest within the
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     applicable period of limitations fixed by this Plan, the Bankruptcy Code or applicable
     Bankruptcy Rules, or as otherwise fixed by the Bankruptcy Court, or (ii) such dollar amount as
     shall be fixed by an order of the Bankruptcy Court which has become a Final Order, if an
     objection has been interposed by a party in interest within the applicable period of limitations
     fixed by this Plan, the Bankruptcy Code or applicable Bankruptcy Rules, or the Bankruptcy
     Court or, pending the determination of such objection, the dollar amount of such claim, if any,
     which would be Allowed in the relevant Class if such pending objection were to be granted in
     full by the Bankruptcy Court, or (c) with respect to the allowance of fees and expenses pursuant
     to §§ 330, 331, 503(b) of the Bankruptcy Code, such amount as shall be fixed by an order of the
     Bankruptcy Court which has become a Final Order. Unless otherwise specifically provided in
     this Plan or ordered by the Court, fees or charges and interest accrued from the Petition Date
     through and including the Effective Date shall not be included in the Allowed Amount of any
     pre-Petition Date claim or interest.

  c) "Bankruptcy Code" or the “Code” means the Bankruptcy Reform Act of 1978, as amended, 11
     U.S.C. §101 et seq., Title 11 of the United States Code.

  d) “Bankruptcy Rules” or the “Rules” means the Federal Rules of Bankruptcy Procedure, as
     amended.

  e) "Bankruptcy Court" or the “Court” means the United States Bankruptcy Court for the District of
     Connecticut, or such other court as may hereafter have jurisdiction of and act with respect to the
     Chapter 11 Case.

  f) "Business Day" means any day except Saturday, Sunday and any other day on which the Office
     of the Clerk of the Bankruptcy Court is closed.

  g) "Chapter 11 Case(s)" means the entire pending proceedings commenced by the Debtors’
     petitions for reorganization filed under Chapter 11 of the Bankruptcy Code and styled Lucarelli’s
     Executive Answering Service, LLC, bearing case number 13-30443 (JAM), and Richard and
     Stephanie Lucarelli, bearing case number 13-30350 (JAM).

  h) "Confirmation Date" means the day on which the Bankruptcy Court enters the Confirmation
     Order on its docket.

  i) "Confirmation Order" means the order entered by the Bankruptcy Court confirming this Plan in
     accordance with the provisions of the Bankruptcy Code.

  j) "Disclosure Statement" means the written document entitled "Second Amended Joint Disclosure
     Statement of Richard and Stephanie Lucarelli and Lucarelli’s Executive Answering Service,
     LLC Dated March 5, 2014” relating to this Plan filed by the Debtor pursuant to §1125 of the
     Bankruptcy Code in connection with the Chapter 11 Case and approved by the Bankruptcy Court
     as containing "adequate information" (as the term is defined in §1125(a)(1) of the Bankruptcy
     Code), as the same may be amended or modified and approved by the Bankruptcy Court,
     including any exhibits and schedules annexed thereto and any documents delivered in connection
     therewith.

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   k) "Disputed Claim" shall have the meaning ascribed to said term in Article V hereof.

   l) “Effective Date” means the first Business Day following the date that is twenty-eight (28) days
      after the Confirmation Date. If, however, a stay of the Confirmation Order is in effect on that
      date, the Effective Date will be the first Business Day after the date on which the stay of the
      Confirmation Order expires or is otherwise terminated.

   m) "Final Order" means an order or judgment of the Bankruptcy Court or other court of competent
      jurisdiction (i) which is not the subject of an appeal, or (ii) which shall not have been reversed,
      stayed, modified or amended, or (iii) from which the time to appeal, seek review, certiorari or
      rehearing of such order shall have expired, as a result of which such order shall have become
      final in accordance with Rule 8002 of the Bankruptcy Rules.

   n) "Impaired" has the meaning ascribed to it in §1124 of the Bankruptcy Code, and, without
      intending to limit or alter such meaning, generally can be described as meaning, as to a claim or
      interest, the alteration of the legal, equitable or contractual rights to which a claim or interest
      would otherwise entitle the holder, or, as to a claim or interest on which payment has been
      accelerated due to default, failure to cure any contractual default and reinstate the maturity of
      such claim or interest existing prior to default and failure to compensate for any damages
      incurred as a result of the default.

   o) “LEAS” refers to the estate of Lucarelli’s Executive Answering Service, LLC, case number 13-
      30443.

   p) "Lucarelli” or the “Lucarelli Case” refers to the estate of Richard and Stephanie Lucarelli, case
      number 13-30350.

   q) "Petition Date" means the date the respective Debtors filed the original petitions commencing the
      Chapter 11 cases, February 27, 2013, for Richard and Stephanie Lucarelli, and March 13, 2013,
      for Lucarelli’s Executive Answering Service, LLC.

   r) "Plan" means this plan of reorganization and any amendment hereto or modification hereof.

   s) "Plan Administrator" means Richard or Stephanie Lucarelli.

   t) “Plan Interest Rate” means the Wall Street Journal prime rate as of the Effective Date plus one
      percent (1%).

   u) "Priority Claims" means any Allowed Claim, other than Administrative Expenses and Priority
      Tax Claims, to the extent entitled to priority in payment under §507(a) of the Bankruptcy Code.

   v) "Priority Tax Claims" means all claims against the Debtor entitled to priority under §507(a)(8) of
      the Bankruptcy Code, excluding penalties not for actual pecuniary loss, and only to the extent
      that such claims are not secured claims.

   w) “Pro Rata” means, with respect to an amount of cash to be paid or distributed on a particular date
      to a class of claims, a proportionate share of such cash in accordance with the ratio, as of such
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       date, of the amount of each respective claim in the class to the aggregate of the amount of claims
       in the indicated class (including, in each such calculation, the full amount asserted by the
       respective creditors of any Disputed Claims in the class).

   x) "Schedules" means (i) the schedules of assets and liabilities, current income and expenditures,
      and executory contracts and unexpired leases and (ii) the statement of financial affairs, including
      any amendments thereto, which were filed by the respective Debtors with the Bankruptcy Court
      in accordance with Bankruptcy Rule 1007(b).

        8.02. Severability. If any provision in this Plan is determined to be unenforceable, the
determination will in no way limit or affect the enforceability and operative effect of any other provision
of this Plan.

        8.03. Binding Effect. The rights and obligations of any entity named or referred to in this Plan
will be binding upon, and will inure to the benefit of the successors or assigns of such entity.

       8.04. Captions. The headings contained in this Plan are for convenience of reference only and
do not affect the meaning or interpretation of the Plan.

        8.05. Controlling Effect. Unless a rule of law or procedure is supplied by federal law
(including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Connecticut
govern this Plan and any agreements, documents, and instruments executed in connection with this Plan,
except as otherwise provided in this Plan.

                                          ARTICLE IX
                                     DISCHARGE OF DEBTORS

        With respect to those claims arising against the Lucarellis individually, including all priority
claims and the full provided treatment of unsecured Class 8, excluding assumed mortgages of Classes 4-
6, payment shall be made on the Effective Date. The Lucarellis therefore shall apply for a discharge
immediately upon completion of distributions on the Effective Date. Such application will be served on
all creditors with allowed claims against the individual estate and is subject to objection and Court
approval. In no event, however, shall the individual debtors be discharged from any debt excepted from
discharge under Section 523 of the Code, except as provided in Rule 4007(c) of the Federal Rules of
Bankruptcy Procedure.

       On the confirmation of this Plan, LEAS will be discharged from any debt that arose before the
confirmation of the plan, subject to the occurrence of the Effective Date, to the extent specified in
Section 1141(d)(1)(A) of the Code. The Debtors will not be discharged from any debt imposed by this
Plan.




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Dated this 5th Day of March 2014.

Respectfully submitted,                           Respectfully submitted,

/s/ Richard Lucarelli______                       LUCARELLI’S EXECUTIVE ANSWERING
Richard Lucarelli                                 SERVICE, LLC

/s/ Stephanie Lucarelli ____                      By: _/s/ Richard Lucarelli__________
Stephanie Lucarelli                               Richard Lucarelli, Duly Authorized

By /s/ Kenneth Lenz                               By: /s/ Carl T. Gulliver
Kenneth Lenz, Esquire                             Carl T. Gulliver, Esquire
Federal Bar #ct06419                              Federal Bar #ct00944
Counsel to Richard and Stephanie Lucarelli        Counsel to Lucarelli’s Executive
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                                         Schedule A
                                 Assumed Contracts and Leases


Counter Party to Agreement                       Agreement

Sodom Lane Properties, LLC                       Month to Month lease to Lucarelli’s Executive
24 Sodom Lane                                    Answering Service, LLC, of commercial office
Derby, CT 06418                                  space in 20 Sodom Lane, Derby, at rate of $1,275
                                                 monthly




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